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                         IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                              :

                 v.                                    :   CRIMINAL NO. 21-132

 MURTY VEPURI                                          :
 KVK-TECH, INC.
 ASHVIN PANCHAL                                        :

                             MOTION TO STAY PROCEEDINGS

       On March 25, 2022, the United States timely filed a notice of appeal (DDE # 150) from

the order of this Court entered on February 23, 2022 (DDE # 132), which granted in part the

motion of defendants KVK-Tech, Inc. and Ashvin Panchal, joined by defendant Murty Vepuri, to

dismiss the superseding indictment for failure to state an offense, dismissing one object of a two-

object conspiracy charged under Title 18, United States Code, Section 371 in Count One of the

superseding indictment for “conspiring to introduce an article in violation of 21 U.S.C. §§ 331(d)

and 355(a)” of the Food, Drug and Cosmetic Act (“FDCA”).

       The filing of the notice of appeal has divested the Court of jurisdiction for the pendency

of the appeal proceedings. Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982)

(“The filing of a notice of appeal is an event of jurisdictional significance -- it confers

jurisdiction on the court of appeals and divests the district court of its control over those aspects

of the case involved in the appeal.”). 1



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           As a practical matter, the case cannot proceed without the dismissed object since the
other charges – object two of the section 371 conspiracy charging the defendants with making
false statements to the FDA regarding the FDCA violation, in violation of 18 U.S.C. § 1001, and
Count Two of the superseding indictment charging mail fraud for fraudulently selling
unapproved new drugs that KVK represented to customers were in compliance with the FDCA,
in violation of 18 U.S.C. § 1341 – are inextricably linked to whether an FDCA violation

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               Thus, the government respectfully requests the Court to order the proceedings

stayed while the appeal is pending.

                                             Respectfully submitted,

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                                             United States Attorney

                                             /s/ M. Beth Leahy
                                             M. Beth Leahy
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occurred. Further, it makes good sense to stay the entire proceedings at this juncture as a matter
of judicial economy.



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                             CERTIFICATE OF SERVICE

          I certify that the foregoing Motion to Stay Proceedings was served on all
counsel of record by federal express and by email.


                                         /s/ M. Beth Leahy
                                         M. Beth Leahy
                                         Assistant United States Attorney

Date: April 11, 2022




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